18 F.3d 954
    305 U.S.App.D.C. 194
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.U.S. SMALL BUSINESS ADMINISTRATION, As Receiver forProfessional Capital Corporationv.PROFESSIONAL ANSWERING SERVICE, INC.;  Cora Rice, Presidentand Director, Professional Answering Service,Inc.;  Dorothy Washington, Director,Professional Answering Service, Inc.Hardi L. Jones, Director, Professional Answering Service,Inc., Appellant.
    No. 93-5111.
    United States Court of Appeals, District of Columbia Circuit.
    Feb. 15, 1994.
    
      Before:  SILBERMAN, BUCKLEY and GINSBURG, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This appeal was considered on the record from the United States District Court for the District of Columbia and on the briefs filed by the parties.  The court has determined that the issues presented occasion no need for an opinion.  See D.C.Cir. Rule 36(b).  It is
    
    
      2
      ORDERED AND ADJUDGED that the district court's order filed April 2, 1993 be affirmed substantially for the reasons stated by the district court at the April 2, 1993 hearing on appellee's motion for summary judgment.  Appellee having sustained its initial burden of showing that there was no genuine issue of material fact, appellant did not respond with specific facts showing that there was a genuine issue for trial.  See Fed.R.Civ.P. 56(c), (e).
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.  See D.C.Cir. Rule 41.
    
    